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                                         January 20, 2020

   VIA E-FILING
   Hon. Joseph A. Dickson, U.S.M.J.
   Martin Luther King Courthouse
   50 Walnut St., Room 5054
   Newark, New Jersey 07101

          Re:     Witold Baginski v. Borough of Wallington, et als
                  Civil Action No.: 17-cv-05320-JLL-LAD

   Dear Judge Dickson:

   This office represents Plaintiff, Witold Baginski (“Plaintiff”), in the above-captioned
   matter. Please accept this correspondence in lieu of a more formal request for a
   telephone status conference with the Court to address a recent issue involving the parties,
   which may require Plaintiff to file a Second Amended Complaint to allege additional
   claims and parties.

   Upon information and belief, on or about January 7, 2020, Matthew Gilson, an Associate
   attorney employed by the Law Office of Richard Malagiere, Borough Attorney for
   Defendant Borough of Wallington and Counsel for the Borough as for the uninsured
   claims in this matter, posted a statement on a Facebook group, named “Residents of
   Wallington” (“ROW”), in which Mr. Gilson is believed to have posted an alleged
   defamatory statement against Plaintiff relating to a subject of this litigation and the tenure
   charges against Plaintiff providing in part “The better question is why you guys let
   Baginski and Cassidy steal it in the first place…,” allegedly referring to water and
   electrical charges on a parcel of property owned by the Borough of Wallington. It is
   respectfully submitted that such allegations provide the basis for filing a Second
   Amended Complaint to assert additional parties and claims and perhaps the need to file a
   Motion to Disqualify the Law Office of Richard Malagiere depending on discovery
   relating to Mr. Gilson’s Facebook postings.
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   Thank you for Your Honor’s kind attention to the within request.

                                                      Respectfully submitted,

                                                      ROBERT A. TANDY

                                                      ROBERT A. TANDY

   cc:    Scott K. Seelagy, Esq.
          Tim O’Connor, Esq.
          Leonard E. Seaman, Esq.
